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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )           8:05CR162
                     Plaintiff,                    )
                                                   )
       vs.                                         )            ORDER
                                                   )
GENARO FAVALA RAMIREZ,                             )
                                                   )
                     Defendant.                    )


       This matter is before the court on the government’s notice for a conflict of interest
inquiry as to Carlos A. Monzon remaining as counsel for defendant Genaro Favala Ramirez
(Ramirez) (Filing No. 170-Sealed). The court held a hearing on the notice on June 8, 2006.
 Ramirez was present with his counsel Mr. Monzon. The government was represented by
Assistant U.S. Attorney Joe W. Stecher. Rafael Carrillo, a certified interpreter in the
Spanish language, served as the interpreter by remote telephone hook-up. Following an
inquiry of Ramirez, Ramirez requested the appointment of counsel as to whether he should
waive any conflict of interest of Mr. Monzon. The court found Ramirez to be eligible for the
appointment of counsel pursuant to the Criminal Justice Act.


       IT IS ORDERED:
       1.     Dana C. Bradford, III, 1620 Dodge Street, Suite 1800, Omaha, NE 68102, is
appointed as counsel for Ramirez solely for the purpose of advising Ramirez as to any
conflict of interest that attorney Carlos A. Monzon may have in this matter and as to
whether or not Ramirez should waive any such conflict of interest.
       2.     The hearing on Ramirez’s motion to dismiss (Filing No. 106) is rescheduled
for 9:00 a.m. on June 29, 2006. Prior to such hearing, the court will determine the action
to be taken on the government’s notice of a conflict of interest.
       3.     Prior to the hearing on June 29, 2006, Mr. Bradford will report to the court and
counsel Ramirez’s intended course of action with regard to the reported conflict of interest.
       4.     The clerk shall provide a copy of this order to Mr. Bradford, and Mr. Bradford
shall enter a limited appearance in this matter.
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       IT IS FURTHER ORDERED that the clerk shall forthwith provide a hard copy of the
following matters to Mr. Bradford: Filing Nos. 71, 106, 107, 108, 109, 132, 167, 170-Sealed,
171-Sealed, and 172-Sealed.
       DATED this 12th day of June, 2006.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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